        Case 4:15-cr-00082-BMM Document 97 Filed 03/03/17 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                         CR-15-82-GF-BMM-2

                Plaintiff,
                                                          ORDER
vs.

PAIGE LARANN DEMARCE,

               Defendant.

      Defendant Paige Larann Demarce having filed a Motion for Temporary

Release from Custody (Doc. 95), the Government having no objections, good

cause appearing;

      IT IS HEREBY ORDERED that the Defendant, Paige Larann Demarce,

shall be temporarily released from custody on Saturday, March 4, 2017, and

transported by Mr. Fred Lester to Fort Yates, North Dakota, to attend the funeral

proceedings of her cousin Taran Fox on Saturday and Monday, March 4 and 6,

2017; and
        Case 4:15-cr-00082-BMM Document 97 Filed 03/03/17 Page 2 of 2



      IT IS FURTHER HEREBY ORDERED that Ms. Demarce shall return

promptly to the Cascade County Regional Detention Facility on Tuesday, March 7,

2017, checking in no later than 5:00 p.m.

      DATED this 3rd day of March, 2017.
